Case 3:25-cv-00299-TJC-MCR      Document 1    Filed 03/20/25   Page 1 of 26 PageID 1




                    IN THE UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION


 PROFESSIONAL TRANSPORTATION
 RISK RETENTION GROUP, INC., an
 Alabama Corporation,                            No. _______________

       Plaintiff,

 v.

 SERZULE TRANSPORT CORP, a Florida
 Corporation; and POMPILIO
 RODRIGUEZ-PAEZ, a Georgia Resident;

       Defendants.


               COMPLAINT FOR DECLARATORY JUDGMENT

      The Plaintiff, PROFESSIONAL TRANSPORTATION RISK RETENTION

GROUP (“PTTRG”), by and though its undersigned counsel, files this Complaint

for Declaratory judgment against the Defendant, SERZULE TRANSPORT CORP

(“Serzule”), and states as follows:

                                INTRODUCTION

      1.     This action is brought pursuant to the Federal Declaratory Judgment

Act, 28 U.S.C. § 2201 for a declaration concerning the parties’ respective rights and

obligations under a Commercial Automobile Policy issued to Serzule.
Case 3:25-cv-00299-TJC-MCR     Document 1     Filed 03/20/25   Page 2 of 26 PageID 2




      2.    PTTRG issued Commercial Automobile Policy, number PT-23020059-

01, to Serzule for the period of February 23, 2023, to February 23, 2024 (the

“Policy”). A copy of the Policy is attached hereto as “Exhibit 1.”

      3.    On November 23, 2023, a fatal accident occurred in Henry County,

Georgia involving the following vehicles and occupants (the “Accident”):

      Vehicle 1:   A     white    2013    Volvo      VNL      Tractor    (VIN
                   4V4NC9EHXDN136200) driven by Osvaldo Nunez (FL
                   Drivers License No. N-520-640-93-050-0) (“Mr. Nunez”)
                   who was allegedly hauling a load on behalf of RUSA
                   Trucking, Inc. (“RUSA”) using a trailer owned by
                   Amazon. The Police Report indicates that there were two
                   minor passengers, Kenay Nunez (age 6) and Dwayne
                   Ortiz (age 14), in Vehicle 1 at the time of the Accident as
                   well.
      Vehicle 2:   A 2017 Toyota Highlander (VIN 5TDKZRFH0HS196241)
                   (“Vehicle 2”) driven by Farrah T. Calloway (GA Drivers
                   License No. 051525924) (“Ms. Calloway”)
      Vehicle 3:   A 2012 Freightliner TR (VIN 1FUJGLDR5CSBB2139)
                   operated by Pompilio Rodriguez-Paez (GA Drivers
                   License No. 055912610) (“Mr. Paez”) allegedly as an
                   employee of Serzule.
      Vehicle 4:   A      black      2019      Dodge        Charger      (VIN
                   2C3CDXGJ1KH576630) operated by Steve Dale Golden
                   (GA Drivers License No. 055236453) (“Mr. Golden” or
                   “Decedent”).

A true and accurate copy of the Police Report issued in connection with the

Accident is attached hereto as “Exhibit 2.”

      4.    After the Accident, Serzule sought coverage under the Policy for

several matters stemming from the Accident including:



                                         2
Case 3:25-cv-00299-TJC-MCR       Document 1     Filed 03/20/25    Page 3 of 26 PageID 3




            a.      A demand letter seeking payment of invoices issued by

                    Wrecker 1, Inc. (“Wrecker 1”) for site remediation, towing,

                    disposal, and storage of vehicles after the Accident (“Wrecker

                    1 Demand”);

            b.      A lawsuit styled as Wrecker 1, Inc. v. American Automobile

                    Insurance Company, et al., Case No. STSV2024001289 in the State

                    Court of Henry County, Georgia (the “Wrecker 1 Lawsuit”);

                    and

            c.      A lawsuit styled as Camishe Golden, individually and on behalf of

                    the Estate of Steve Golden v. Amazon Logistics, Inc. et al., Case No.

                    24-C04624-S7, in the State Court of Gwinnett County, Georgia

                    (the “Golden Lawsuit”).

      5.    A global mediation of all claims asserted in the Wrecker 1 Lawsuit

and the Golden Lawsuit (collectively, the “Underlying Lawsuits”), as well as

potential claims by Ms. Calloway, took place on November 4, 2024. Shortly after

the unsuccessful mediation, Wrecker 1 filed a Motion for Entry of Default and

Default Judgment.

      6.    PTRRG seeks a declaration as to the parties’ rights and obligations

under the Policy with respect to the Underlying Lawsuit and other claims arising

out of the Accident.


                                           3
Case 3:25-cv-00299-TJC-MCR     Document 1     Filed 03/20/25    Page 4 of 26 PageID 4




                                    PARTIES

      7.    PTRRG is an insurance company duly organized and existing under

the laws of the State of Alabama.

      8.    Serzule is a corporation duly organized and existing under the laws

of the State of Florida with its principal place of business located in Middleburg,

Florida.

      9.    Upon information and belief, Pompilio Rodriguez-Paez is an

individual domiciled in Georgia.

                         JURISDICTION AND VENUE

      10.   This is an action for declaratory judgment pursuant to the Federal

Declaratory Judgment Act, 28 U.S.C. § 2201, for the purposes of determining a

question of actual controversy between the parties.

      11.   This Court has jurisdiction based upon 28 U.S.C. § 1332. There is

complete diversity of citizenship between the parties, and the amount in

controversy exceeds $75,000, exclusive of interest and costs.

      12.   An actual and justiciable controversy exists regarding the parties’

respective rights and obligations under the Policy, and that controversy is ripe for

adjudication.




                                         4
Case 3:25-cv-00299-TJC-MCR        Document 1   Filed 03/20/25   Page 5 of 26 PageID 5




      13.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the

insurance contracts sued upon herein were made and entered into with Serzule in

Middleburg, Florida.

                           FACTUAL BACKGROUND

              A.    The Wrecker 1 Demand

      14.     On or about November 23, 2023, Wrecker 1, Inc. issued Invoice No.

23-2124A to Serzule in the amount of $103,796.75 for services rendered in

connection with the Accident.

      15.     According to the Invoice, Wrecker 1 was requested by Corner Lot

Towing to assist with a Towing and Recovery Incentive Program (“TRIP”)

activation.

      16.     The Invoice indicates that the equipment and emergency response

team costs were split 50/50 between Vehicle 1 and Vehicle 3.

      17.     On or about November 27, 2023, Wrecker 1 issued a second invoice,

Invoice No. 23-2139, to Serzule in the amount of $10,600.00 for the clean out and

disposal of fresh produce from the trailer component of Vehicle 3 that was

reportedly performed pursuant to directives from the Georgia Department of

Agriculture after the Accident.

      18.     Wrecker 1 submitted directly to PTRRG in April 2024. Upon

information and belief, Wrecker 1 also issued Invoice No. 23-2124 to RY /YR and


                                          5
Case 3:25-cv-00299-TJC-MCR     Document 1    Filed 03/20/25   Page 6 of 26 PageID 6




Amazon in the amount of $69,446.75 with further notes regarding “SPLIT 50/50

WITH THE OTHER TT INVOLVED – INVOICE # 23-2124A” and a discount with

description “11/7/24 (90,000.00) MONIES PAID BY AMAZON TO RELEASE

THEIR TRAILER)”. Invoice No. 232124A, Invoice No. 23-2139, and Invoice No. 23-

2124 (collectively, the “Invoices”) are attached hereto as “Group Exhibit 3.”

            B.    The Wrecker 1 Lawsuit

      19.   On May 1, 2024, Wrecker 1 filed the Wrecker 1 Lawsuit asserting

claims against Defendants American Automobile Insurance Company; Amazon

Logistics, Inc. d/b/a Prime; Amazon.com, Inc.; Southwind Risk Retention Group;

RUSA Transportation, Inc.; Accredited Specialty Insurance Company; YR&RY

Transport, LLC; Serzule; PTRRG; and Mr. Paez, and John or Jane Doe individuals

and entities 1-3 (collectively, the “Wrecker Defendants”). A copy of the original

complaint filed in the Wrecker 1 Lawsuit is attached hereto as “Exhibit 4.”

      20.   Wrecker 1 asserted that it was dispatched by Henry County law

enforcement/ Georgia State Patrol per the rotational recovery list under Georgia’s

TRIP program to clear the wreckage after the Accident as required by PSC rules

and regulations for the TRIP program.

      21.   Wrecker 1 allegedly assessed the damage and determined that it

needed a crane to lift and upright the vehicles and that recovery would require

multiple towing vehicles and personnel.


                                        6
Case 3:25-cv-00299-TJC-MCR      Document 1    Filed 03/20/25   Page 7 of 26 PageID 7




        22.   Wrecker 1 alleges that it hired a second company agreeing to pay it

$40,000 for its equipment and manpower assistance that Thanksgiving Day for

close to 7 hours.

        23.   Wrecker 1 alleges that it removed each of the vehicles from the scene

of the Accident for storage on its property where the vehicles remained pending

payment of the recovery and storage bills.

        24.   Wrecker 1 alleges that Serzule and/or its agents made a $10,000

partial payment for recovery of the tractor component of Vehicle 3 owned by Mr.

Paez.

        25.   Wrecker 1 alleges that Mr. Paez was the owner of the trailer

component of Vehicle 3 as well.

        26.   Wrecker 1 asserts that the Wrecker Defendants breached contractual

obligations by failing to pay the Invoices.

        27.   Alternatively, Wrecker 1 asserts that it is entitled to payment of its

Invoices under a theory of quantum meruit because Defendants have been

unjustly enriched by the services rendered but not paid for by the Defendants.

        28.   Wrecker 1 also asserts that each of the Defendants have MCS-90 and

Form F endorsements that cover their respective portions of the Invoices pursuant

to O.C.G.A. 40-2-140(d)(4) & 40-1-120(c).




                                          7
Case 3:25-cv-00299-TJC-MCR       Document 1    Filed 03/20/25   Page 8 of 26 PageID 8




      29.      Wrecker 1 seeks damages in the amount of $100,000 plus all attorneys’

fees and costs pursuant to O.C.G.A. § 13-6-11.

      30.      On or about June 3, 2024, PTRRG issued its Coverage Position Letter

regarding the Wrecker 1 Lawsuit wherein it disclaimed coverage for the Invoices

as economic damages that do not meet the definition of “bodily injury,” “property

damage,” or “covered pollution cost or expense” as required for coverage under

the Policy. A true and accurate copy of the June 3, 2024, letter is attached hereto as

“Exhibit 5.”

      31.      In the June 3, 2024, letter, PTRRG also explained that the MCS-90

Endorsement is not implicated absent a final judgment against Serzule for public

liability resulting from negligence in the operation, maintenance or use of motor

vehicles subject to the financial responsibility requirements of Sections 29 and 30

of the Motor Carrier Act of 1980.

               C.    The Golden Lawsuit

      32.      On or about May 20, 2024, Plaintiff Camishe Golden (“Golden”) filed

the original Complaint in the Lawsuit, asserting claims both individually and on

behalf of the Estate of Steve Golden (the “Estate”) against Defendants Amazon

Logistics, Inc (“Amazon”); YR&RY Transport, LLC (“YR&RY”); Osvaldo Nunez

(“Mr. Nunez”); American Automobile Insurance Company (“American”);




                                          8
Case 3:25-cv-00299-TJC-MCR     Document 1     Filed 03/20/25   Page 9 of 26 PageID 9




Accredited Specialty Insurance Company (“Accredited”); Serzule; and Pompilio

Rodriguez Paez (“Mr. Paez”) (collectively, the “Golden Defendants”).

      33.   In the Golden Lawsuit, Golden alleges that Mr. Nunez was operating

Vehicle 1 in the course and scope of his employment for YR&RY Transport, LLC

and/or Amazon Logistics, Inc. when he unsafely changed lanes and collided hard

with the driver’s side of Vehicle 3 which was being operated by Mr. Paez in the

course and scope of his employment for Serzule. A true and accurate copy of the

Original Complaint filed in the Golden Lawsuit is attached hereto as “Exhibit 6.”

      34.   Upon impact, Plaintiff alleges that Mr. Paez made a “faulty evasive

maneuver and failed to maintain his lane of travel…” which allegedly contributed

to Vehicle 1 “jackknifing” across the lanes of Interstate 75 northbound.

      35.   The Lawsuit alleges that Vehicle 4 collided with Vehicle 1 after the

foregoing events and the Decedent sustained fatal injuries.

      36.   In the original complaint filed in the Golden Lawsuit, Golden asserts

eleven counts including:

      • Negligence against Amazon (Count I);

      • Negligence against YR&RY (Count II);

      • Negligence against Mr. Nunez (Count III);

      • Negligence against American Automobile Insurance Company and

Accredited Specialty Insurance Company as Amazon’s insurers (Count IV);

                                         9
Case 3:25-cv-00299-TJC-MCR      Document 1    Filed 03/20/25   Page 10 of 26 PageID 10




       • Negligence against Serzule (Count V);

       • Negligence against Mr. Paez (Count VI);

       • Combined and Concurring Liability for Compensatory Damages

 (Count VII);

       • Litigation Expenses and Attorney’s Fees (Count VIII);

       • Punitive Damages as to Amazon (Count IX);

       • Punitive Damages as to YR&RY (Count X); and

       • Punitive Damages as to Serzule based on its alleged intentional,

 knowing, willful, reckless and wanton disregard or conscious indifference to

 consequences of their alleged misconduct (Count XI).

       37.      Based on the foregoing, Golden sought damages based on the Golden

 Defendants’ alleged negligence and negligence per se including both general and

 special damages related to the Decedent’s fatal injuries and loss of property.

       38.      In an Amended Complaint filed on or about July 24, 2024, Golden

 alleges that Mr. Nunez was an employee and/or agent of Amazon; RUSA

 Trucking, Inc. and RUSA Transportation, Inc. (collectively, “RUSA”); and/or

 YR&RY. Plaintiff further amended Count II to assert negligence against YR&RY

 and/or RUSA and amended Count IV to assert negligence against Zurich

 American Automobile Insurance Company (“Zurich”); Southwind Risk Retention

 Group, Inc. (“Southwind”) and Accredited. Finally, Plaintiff added Count VI

                                         10
Case 3:25-cv-00299-TJC-MCR      Document 1     Filed 03/20/25   Page 11 of 26 PageID 11




 asserting Negligence against PTRRG, however, Count VI was subsequently

 dismissed as a matter of law. A true ad accurate copy of the Amended Complaint

 filed in the Golden Lawsuit is attached hereto as “Exhibit 7.”

         39.    On August 21, 2024, PTRRG issued its Coverage Position Letter

 regarding the Golden Lawsuit wherein it agreed to provide Serzule and Mr. Paez

 with a defense subject to a full and complete reservation of its rights under the

 Policy and at law. A true and accurate copy of the August 21, 2024, Letter is

 attached hereto as “Exhibit 8.”

                D.    The Global Mediation & Status of the Underlying Lawsuits

         40.    On November 4, 2024, the parties to the Underlying Lawsuits and

 other interested parties engaged in a global mediation but were unable to reach a

 resolution.

         41.    On or about November 8, 2024, Wrecker 1 filed its Motion & Brief in

 support of Entry of Default & Default Judgment against Defendants YR&RY,

 Serzule, and Mr. Paez. A copy of Wrecker 1’s Motion & Brief is attached hereto as

 “Exhibit 9.”

         42.    Wrecker 1’s Motion & Brief have not been set for hearing due to its

 counsel having moved to withdraw from its representation filed on December 20,

 2024.




                                          11
Case 3:25-cv-00299-TJC-MCR       Document 1      Filed 03/20/25   Page 12 of 26 PageID 12




                                     THE POLICY

       43.     Section II. A. of the Policy provides Covered Autos Liability Coverage

 as follows:

       We will pay all sums an “insured” legally must pay as damages because of
       “bodily injury” or “property damage” to which this insurance applies,
       caused by an “accident” and resulting from the ownership, maintenance or
       use of a covered “auto”.

       We will also pay all sums an “insured” legally must pay as a “covered
       pollution cost or expense” to which this insurance applies, caused by an
       “accident” and resulting from the ownership, maintenance or use of
       covered “autos”. However, we will only pay for the “covered pollution cost
       or expense” if there is either “bodily injury” or “property damage” to which
       this insurance applies that is caused by the same “accident”.

       We will have the right and duty to defend any “insured” against a “suit”
       asking for such damages or a “covered pollution cost or expense”.
       However, we have no duty to defend any “insured” against a “suit” seeking
       damages for “bodily injury” or “property damage” or a “covered pollution
       cost or expense” to which this insurance does not apply. We may
       investigate and settle any claim or “suit” as we consider appropriate. Our
       duty to defend or settle ends when the Covered Autos Liability Coverage
       Limit of Insurance has been exhausted by payment of judgments or
       settlements.

       44.     Section VI. of the Policy defines the following relevant terms:

               A. “Accident” includes continuous or repeated exposure to the
                  same conditions resulting in “bodily injury” or “property
                  damage”.

               B. “Auto” means:
                  1. A land motor vehicle, “trailer” or semi trailer designed for
                     travel on public roads; or
                  2. Any other land vehicle that is subject to a compulsory or
                     financial responsibility law or other motor vehicle insurance
                     law where it is licensed or principally garaged.
                     However, “auto” does not include “mobile equipment”.



                                            12
Case 3:25-cv-00299-TJC-MCR      Document 1       Filed 03/20/25    Page 13 of 26 PageID 13




             C. “Bodily injury” means bodily injury, sickness or disease
                sustained by a person including death resulting from any of
                these.

             D. “Covered pollution cost or expense” means any cost or expense
                arising out of:
                1. Any request, demand, order or statutory or regulatory
                    requirement that any “insured” or others test for, monitor,
                    clean up, remove, contain, treat, detoxify or neutralize, or in
                    any way respond to, or assess the effects of, “pollutants”; or
                2. Any claim or “suit” by or on behalf of a governmental
                    authority for damages because of testing for, monitoring,
                    cleaning up, removing, containing, treating, detoxifying or
                    neutralizing, or in any way responding to, or assessing the
                    effects of, “pollutants”. “Covered pollution cost or expense”
                    does not include any cost or expense arising out of the actual,
                    alleged or threatened discharge, dispersal, seepage,
                    migration, release or escape of “pollutants”:
                    a. That are, or that are contained in any property that is:
                        (1) Being transported or towed by, handled, or handled
                            for movement into, onto or from the covered “auto”;
                        (2) Otherwise in the course of transit by or on behalf of the
                            “insured”; or
                        (3) Being stored, disposed of, treated or processed in or
                            upon the covered “auto”;
                            b. Before the “pollutants” or any property in which
                                the “pollutants” are contained are moved from the
                                place where they are accepted by the “insured” for
                                movement into or onto the covered “auto”; or
                            c. After the “pollutants” or any property in which the
                                “pollutants” are contained are moved from the
                                covered “auto” to the place where they are finally
                                delivered, disposed of or abandoned by the
                                “insured”.
                            Paragraph a. above does not apply to fuels, lubricants,
                            fluids, exhaust gases or other similar “pollutants” that
                            are needed for or result from the normal electrical,
                            hydraulic or mechanical functioning of the covered
                            “auto” or its parts, if:
                        (1) The “pollutants” escape, seep, migrate or are
                            discharged, dispersed or released directly from an
                            “auto” part designed by its manufacturer to hold,
                            store, receive or dispose of such “pollutants”; and

                                            13
Case 3:25-cv-00299-TJC-MCR      Document 1      Filed 03/20/25    Page 14 of 26 PageID 14




                       (2) The “bodily injury”, “property damage” or “covered
                           pollution cost or expense” does not arise out of the
                           operation of any equipment listed in Paragraph 6.b. or
                           6.c. of the definition of “mobile equipment”.
                           Paragraphs b. and c. above do not apply to “accidents”
                           that occur away from premises owned by or rented to
                           an “insured” with respect to “pollutants” not in or
                           upon a covered “auto”, if:
                           (a) The “pollutants” or any property in which the
                               “pollutants” are contained are upset, overturned or
                               damaged as a result of the maintenance or use of a
                               covered “auto”; and
                           (b) The discharge, dispersal, seepage, migration,
                               release or escape of the “pollutants” is caused
                               directly by such upset, overturn or damage.

             G. “Insured” means any person or organization qualifying as an
                insured in the Who Is An Insured provision of the applicable
                coverage. Except with respect to the Limit of Insurance, the
                coverage afforded applies separately to each insured who is
                seeking coverage or against whom a claim or “suit” is brought.

             H. “Insured contract” means:
                 1. A lease of premises;
                 2. A sidetrack agreement;
                 3. Any easement or license agreement, except in connection
                    with construction or demolition operations on or within 50
                    feet of a railroad;
                 4. An obligation, as required by ordinance, to indemnify a
                    municipality, except in connection with work for a
                    municipality;
                 5. That part of any other contract or agreement pertaining to
                    your business (including an indemnification of a municipality
                    in connection with work performed for a municipality) under
                    which you assume the tort liability of another to pay for
                    “bodily injury” or “property damage” to a third party or
                    organization. Tort liability means a liability that would be
                    imposed by law in the absence of any contract or agreement;
                    or
                 6. That part of any other contract or agreement, entered into, as
                    part of your business, pertaining to the rental or lease, by you
                    or any of your “employees”, of any “auto”. However, such
                    contract or agreement shall not be considered an “insured

                                           14
Case 3:25-cv-00299-TJC-MCR     Document 1      Filed 03/20/25   Page 15 of 26 PageID 15




                   contract” to the extent that it obligates you or any of your
                   “employees” to pay for “property damage” to any “auto”
                   rented or leased by you or any of your “employees”.
                   An “insured contract” does not include that part of any
                   contract or agreement:
                   a. That indemnifies a railroad for “bodily injury” or
                      “property damage” arising out of construction or
                      demolition operations, within50 feet of any railroad
                      property and affecting any railroad bridge or trestle,
                      tracks, roadbeds, tunnel, underpass or crossing;
                   b. That pertains to the loan, lease or rental of an “auto” to
                      you or any of your employees, if the “auto” is loaned,
                      leased or rented with a driver; or
                   c. That holds a person or organization engaged in the
                      business of transporting property by “auto” for hire
                      harmless for your use of a covered “auto” unless the
                      covered “auto” is used in your business as a “motor
                      carrier” for hire as in Section II, Paragraph A.1.d. of the
                      Who Is An Insured provision.

             I. “Leased worker” means a person leased to you by a labor leasing
                firm under an agreement between you and the labor leasing firm
                to perform duties related to the conduct of your business.
                “Leased worker” does not include a “temporary worker”.

             J. “Loss” means direct and accidental loss or damage.

             L. “Motor carrier” means a person or organization providing
                transportation by “auto” in the furtherance of a commercial
                enterprise.

             M. "Pollutants" means any solid, liquid, gaseous or thermal irritant
                or contaminant, including smoke, vapor, soot, fumes, acids,
                alkalis, chemicals and waste. Waste includes materials to be
                recycled, reconditioned or reclaimed.

             O. “Property damage” means damage to or loss of use of tangible
                property.

             P. “Suit” means a civil proceeding in which:
                1. Damages because of “bodily injury” or “property damage”;
                   or
                2. A “covered pollution cost or expense”,

                                          15
Case 3:25-cv-00299-TJC-MCR       Document 1       Filed 03/20/25   Page 16 of 26 PageID 16




                 to which this insurance applies, are alleged.

                     “Suit” includes:
                     a. An arbitration proceeding in which such damages or
                        “covered pollution costs or expenses” are claimed and to
                        which the “insured” must submit or does submit with our
                        consent; or
                     b. Any other alternative dispute resolution proceeding in
                        which such damages or “covered pollution costs or
                        expenses” are claimed and to which the “insured” submits
                        with our consent.

              R. “Trailer” includes a semitrailer or a dolly used to convert a
                 semitrailer into a trailer. But for Trailer Interchange Coverage
                 only, “trailer” also includes a container.

       45.    Section II. B. of the Policy provides the following relevant exclusions:

              2. Contractual

              Liability assumed under any contract or agreement. But this
              exclusion does not apply to liability for damages:

                 a. Assumed in a contract or agreement that is an “insured
                    contract”, provided the “bodily injury” or “property damage”
                    occurs subsequent to the execution of the contract or
                    agreement; or
                 b. That the “insured” would have in the absence of the contract
                    or agreement.

                                            ***

              6. Care, Custody Or Control

                 “Property damage” to or “covered pollution cost or expense”
                 involving property owned or transported by the “insured” or in
                 the “insured’s” care, custody or control. But this exclusion does
                 not apply to liability assumed under a sidetrack agreement.

       46.    The MCS-90 Endorsement appended to the Policy provides:

       The insurance policy to which this endorsement is attached provides
       automobile liability insurance and is amended to assure compliance by the
       insured, within the limits stated herein, as a motor carrier of property, with

                                            16
Case 3:25-cv-00299-TJC-MCR       Document 1       Filed 03/20/25    Page 17 of 26 PageID 17




       Sections 29 and 30 of the Motor Carrier Act of 1980 and the rules and
       regulations of the Federal Motor Carrier Safety Administration (FMCSA).

       In consideration of the premium stated in the policy to which this
       endorsement is attached, the insurer (the company) agrees to pay, within
       the limits of liability described herein, any final judgment recovered against
       the insured for public liability resulting from negligence in the operation,
       maintenance or use of motor vehicles subject to the financial responsibility
       requirements of Sections 29 and 30 of the Motor Carrier Act of 1980
       regardless of whether or not each motor vehicle is specifically described in
       the policy and whether or not such negligence occurs on any route or in any
       territory authorized to be served by the insured or elsewhere. Such
       insurance as is afforded, for public liability, does not apply to injury to or
       death of the insured’s employees while engaged in the course of their
       employment, or property transported by the insured, designated as cargo.
       It is understood and agreed that no condition, provision, stipulation, or
       limitation contained in the policy, this endorsement, or any other
       endorsement thereon, or violation thereof, shall relieve the company from
       liability or from the payment of any final judgment, within the limits of
       liability herein described, irrespective of the financial condition, insolvency
       or bankruptcy of the insured. However, all terms, conditions, and
       limitations in the policy to which the endorsement is attached shall remain
       in full force and effect as binding between the insured and the company.
       The insured agrees to reimburse the company for any payment made by the
       company on account of any accident, claim, or suit involving a breach of
       the terms of the policy, and for any payment that the company would not
       have been obligated to make under the provisions of the policy except for
       the agreement contained in this endorsement.

       It is further understood and agreed that, upon failure of the company to
       pay any final judgment recovered against the insured as provided herein,
       the judgment creditor may maintain an action in any court of competent
       jurisdiction against the company to compel such payment.

       The limits of the company’s liability for the amounts prescribed in this
       endorsement apply separately to each accident and any payment under the
       policy because of anyone accident shall not operate to reduce the liability
       of the company for the payment of final judgments resulting from any other
       accident.




                                             17
Case 3:25-cv-00299-TJC-MCR      Document 1      Filed 03/20/25    Page 18 of 26 PageID 18




       47.   The MCS-90 Endorsement defines the following terms:

       Accident includes continuous or repeated exposure to conditions or which
       results in bodily injury, property damage, or environmental damage which
       the insured neither expected nor intended.

       Motor Vehicle means a land vehicle, machine, truck, tractor, trailer, or
       semitrailer propelled or drawn by mechanical power and used on a
       highway for transporting property, or any combination thereof.

       Bodily injury means injury to the body, sickness, or disease to any person,
       including death resulting from any of these.

       Property Damage means damage to or loss of use of tangible property.

       Environmental Restoration means restitution for the loss, damage, or
       destruction of natural resources arising out of the accidental discharge,
       dispersal, release or escape into or upon the land, atmosphere, watercourse,
       or body of water, of any commodity transported by a motor carrier. This
       shall include the cost of removal and the cost of necessary measures taken
       to minimize or mitigate damage to human health, the natural environment,
       fish, shellfish, and wildlife.

       Public Liability means liability for bodily injury, property damage, and
       environmental restoration.

                   COUNT I - DECLARATORY JUDGMENT
              The Policy Does Not Apply to the Wrecker 1 Lawsuit

       48.   PTRRG hereby adopts by reference the allegations contained in

 Paragraphs 1 through 47 of this Complaint as if fully set forth herein.

       49.   The Policy provides coverage for those sums an insured becomes

 legally obligated to pay for “bodily injury,” “property damage,” and/or “covered

 pollution cost or expense” caused by an “accident” and resulting from the

 ownership, maintenance or use of a covered “auto.”



                                           18
Case 3:25-cv-00299-TJC-MCR      Document 1     Filed 03/20/25   Page 19 of 26 PageID 19




       50.    The Policy defines “bodily injury” as bodily injury, sickness or disease

 sustained by a person including death resulting from any of these.

       51.    The Policy defines “property damage” as damage to or loss of use of

 tangible property.

       52.    The Policy defines “covered pollution cost or expense,” in relevant

 part, to include any cost or expense arising out of any request, demand, order or

 statutory or regulatory requirement that any “insured” or others test for, monitor,

 clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to,

 or assess the effects of, “pollutants” or any claim or “suit” by or on behalf of a

 governmental authority for damages because of testing for, monitoring, cleaning

 up, removing, containing, treating, detoxifying or neutralizing, or in any way

 responding to, or assessing the effects of, “pollutants.”

       53.    “Covered pollution costs or expense” does not include any cost or

 expense arising out of the actual, alleged or threatened discharge, dispersal,

 seepage, migration, release or escape of “pollutants” that are, or that are contained

 in any property that is in the course of transit by or on behalf of the “insured” that

 are fuels, lubricants, fluids, exhaust gases or other similar “pollutants” needed for

 or resulting from the normal electrical, hydraulic or mechanical functioning of the

 covered “auto” or its parts, if the “pollutants” escape, seep, migrate or are




                                          19
Case 3:25-cv-00299-TJC-MCR     Document 1       Filed 03/20/25   Page 20 of 26 PageID 20




 discharged, dispersed or released directly from an “auto” part designed by its

 manufacturer to hold, store, receive or dispose of such “pollutants.”

       54.   The damages sought in the Wrecker 1 Lawsuit are economic damages,

 associated with removing vehicles, cleaning up wreckage after the Accident,

 towing and storage costs, and the costs for the disposal of the cargo being hauled

 by Serzule at the time of the Accident.

       55.   To the extent the Wrecker 1 Lawsuit asserts damage in the form of

 costs to cleanup fuels, lubricants, fluids, exhaust gases or similar “pollutants,”

 these are not “covered pollution cost or expense” because these are needed for or

 result from the normal electrical, hydraulic or mechanical functioning of the

 covered “auto” or its parts, if the “pollutants” escape, seep, migrate or are

 discharged, dispersed or released directly from an “auto” part designed by its

 manufacturer to hold, store, receive or dispose of such “pollutants.”

       56.   The damages sought in the Wrecker 1 Lawsuit do not constitute

 “bodily injury,” “property damage” or “covered pollution cost or expense” caused

 by an “accident” and resulting from the ownership, maintenance or use of a

 covered “auto.”

       57.   In the Golden Lawsuit, the damages sought are for fatal injuries

 sustained by Mr. Golden as well as direct physical injury and loss of use of Vehicle

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                                           20
Case 3:25-cv-00299-TJC-MCR       Document 1   Filed 03/20/25   Page 21 of 26 PageID 21




       58.     The Golden Lawsuit appear to qualify as “bodily injury” and

 “property damage” caused by an “accident” and resulting from the ownership,

 maintenance or use of a covered “auto.”

       59.     PTRRG thus seeks a declaration that the Policy is only potentially

 implicated by the Golden Lawsuit and there is no coverage under the Policy for

 the damages sought in the Wrecker 1 Lawsuit.

                        COUNT II – DECLARATORY JUDGMENT
             In the Alternative, Exclusions Bar Any Coverage for the Wrecker 1
                                        Lawsuit

       60.     PTRRG hereby adopts by reference the allegations contained in

 Paragraphs 1 through 59 of this Complaint as if fully set forth herein.

       61.     To the extent the Policy is potentially implicated by any of the

 damages sought in the Wrecker 1 Lawsuit, Exclusion 2. precludes coverage for

 liability assumed under any contract or agreement except with respect to damages

 assumed in an “insured contract” or that the “insured” would have in the absence

 of the contract or agreement.

       62.     To the extent the Policy is potentially implicated by any of the

 damages sought in the Wrecker 1 Lawsuit, Exclusion 6. precludes coverage for

 “property damage” to or “covered pollution cost or expense” involving property

 owned or transported by the “insured” or in the “insured’s” care, custody or

 control.


                                         21
Case 3:25-cv-00299-TJC-MCR       Document 1     Filed 03/20/25   Page 22 of 26 PageID 22




       63.    The Wrecker 1 Lawsuit seeks payment of the Invoices as contractual

 obligations the Wrecker Defendants were obligated to pay.

       64.    The Wrecker 1 Lawsuit seeks damages for the costs associated with

 recovery and removal of Serzule’s property after the Accident.

       65.    The Wrecker 1 Lawsuit seeks damages for the costs associated with

 disposing of Serzule’s cargo after the Accident.

       66.    To the extent the Covered Autos Liability Insuring Agreement were

 potentially implicated by the Wrecker 1 Lawsuit, Exclusion 2. and Exclusion 6.

 preclude any coverage under the Policy.

       67.    PTRRG thus seeks a declaration that there is no coverage for the

 Wrecker 1 Lawsuit under the Policy.

               COUNT III – DECLARATORY JUDGMENT
      The MCS-90 Endorsement Does Not Apply to the Wrecker 1 Lawsuit

       68.    PTRRG hereby adopts by reference the allegations contained in

 Paragraphs 1 through 67 of this Complaint as if fully set forth herein.

       69.    The Policy also includes an MCS-90 Endorsement with minimum

 financial responsibility limits designated in the amount of $750,000 which are the

 limits of liability applicable to each accident.

       70.    Pursuant to the MCS-90 Endorsement, PTRRG agreed to pay, within

 the limits of liability describe herein, any final judgment recovered against Serzule

 for public liability resulting from negligence in the operation, maintenance or use

                                           22
Case 3:25-cv-00299-TJC-MCR      Document 1    Filed 03/20/25   Page 23 of 26 PageID 23




 of motor vehicles subject to the requirements of Sections 29 and 30 of the Motor

 Carrier Act of 1980 regardless of whether or not each motor vehicle is specifically

 described in the policy and whether or not such negligence occurs on any route or

 in any territory authorized to be served by the insured or elsewhere, except with

 respect to injury to or death of the insured’s employees while engaged in the court

 of their employment, or property transported by the insured, designated as cargo.

          71.   The MCS-90 Endorsement provides the insured agrees to reimburse

 PTRRG for any payment made on account of any accident, claim or suit involving

 a breach of the terms of the policy, and for any payment that the company would

 not have been obligated to make under the provisions of the policy except for the

 agreement contained in this endorsement.

          72.   The MCS-90 Endorsement defines “public liability” as liability for

 bodily injury, property damage, and environmental restoration.

          73.   The MCS-90 Endorsement defines “bodily injury” as injury to the

 body, sickness, or disease to any person, including death resulting from any of

 these.

          74.   The MCS-90 Endorsement defines “property damage” as damage to

 or loss of use of tangible property.

          75.   The MCS-90 Endorsement defines “environmental restoration” as

 restitution for the loss, damage, or destruction of natural resources arising out of


                                         23
Case 3:25-cv-00299-TJC-MCR      Document 1     Filed 03/20/25   Page 24 of 26 PageID 24




 the accidental discharge, dispersal, release or escape into or upon the land,

 atmosphere, watercourse, or body of water, of any commodity transported by a

 motor carrier. This shall include the cost of removal and the cost of necessary

 measures taken to minimize or mitigate damage to human health, the natural

 environment, fish, shellfish, and wildlife.

       76.    The requirements of Section 29 and 30 of the Motor Carrier Act of 1980

 mandate that all motor carriers operating in interstate commerce must maintain

 proof of minimum financial responsibility by carrying an insurance policy with an

 MCS-90 Endorsement or another form of Motor Carrier Surety Bond verified by

 the Federal Motor Carrier Safety Administration (FMCSA).

       77.    In the Wrecker 1 Lawsuit, Wrecker 1 seeks payment of the Invoices

 for towing, storage, disposal of cargo, and the removal of wreckage from the scene

 of the Accident in Henry County, Georgia.

       78.    The Golden Lawsuit arises out of the same Accident in Henry County,

 Georgia.

       79.    The MCS-90 Endorsement does not apply to the damages sought in

 the Wrecker 1 Lawsuit which do not constitute damages for “public liability”

 resulting from negligence in the operation, maintenance or use of motor vehicles

 subject to the requirements of Sections 29 and 30 of the Motor Carrier Act of 1980.




                                          24
Case 3:25-cv-00299-TJC-MCR       Document 1   Filed 03/20/25   Page 25 of 26 PageID 25




                                 PRAYER FOR RELIEF

       WHEREFORE, PTRRG prays that this Court enter an order granting the

 following declaratory relief:

       1.     The damages sought in the Wrecker 1 Lawsuit do not constitute

 “bodily injury,” “property damage” or “covered pollution cost or expense” caused

 by an “accident” and resulting from the ownership, maintenance or use of covered

 “autos,” and therefore the Policy is not potentially implicated by the Wrecker 1

 Lawsuit.

       2.     Even if the Policy’s Covered Autos Liability Insuring Agreement were

 satisfied by the allegations of the Wrecker 1 Lawsuit, Exclusion 2. (Contractual)

 and Exclusion 6. (Cargo) would bar any coverage for the damages sought therein;

       3.     The MCS-90 Endorsement is not potentially implicated by the

 Wrecker 1 Lawsuit because the Policy affords coverage for the Golden Lawsuit

 which results from the same Accident.

       4.     The MCS-90 Endorsement is not potentially implicated by the

 Wrecker 1 Lawsuit because Wrecker 1 does not seek damages for “public liability”

 resulting from negligence in the operation, maintenance or use of motor vehicles

 subject to the requirements of Sections 29 and 30 of the Motor Carrier Act of 1980.

       5.     Any other relief this Honorable Court deems equitable and just.




                                         25
Case 3:25-cv-00299-TJC-MCR    Document 1     Filed 03/20/25   Page 26 of 26 PageID 26




       Respectfully submitted this 20th day of March, 2025.

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                                        26
